      Case: 23-60494   Document: 76-2    Page: 1   Date Filed: 12/15/2023




                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                   TEL. 504-310-7700
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                                                            NEW ORLEANS, LA 70130

                           December 15, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-60494     McRaney v. N Amer Mission Bd
                       USDC No. 1:17-CV-80

Enclosed is an order entered in this case.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk


                                 By: _________________________
                                 Majella A. Sutton, Deputy Clerk
                                 504-310-7680
Mr. William Harvey Barton II
Mr. Daniel Howard Blomberg
Ms. Kathleen Ingram Carrington
Mr. Scott E. Gant
Mr. R. Shawn Gunnarson
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